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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
      v.                             )             CASE NO. 1:22-cr-00149 (JEB)
                                     )
ATHANASIOS ZOYGANELES                )
____________________________________ )


                               NOTICE OF APPEARANCE


       Please note the appearance of undersigned counsel for the defendant, Athanasios

Zoyganeles, pursuant to the Court’s appointment under the Criminal Justice Act (CJA).


                                           Respectfully Submitted,

                                           /s/ Peter A. Cooper
                                           Peter A. Cooper, (#478-082)
                                           400 Fifth Street, NW.
                                           Suite 350
                                           Washington DC 20001
                                           pcooper@petercooperlaw.com
                                           Counsel for Athanasios Zoyganeles




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Notice of Appearance is being filed
via the Electronic Court Filing System (ECF), causing a copy to be served upon government
counsel of record, this 9th day of March, 2023.

                                           /s/ Peter A. Cooper
                                           Peter A. Cooper
